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           EXHIBIT 6
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     Attorneys for Plaintiff
 8

 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA

11
      Social Technologies LLC,
12                                                 No. 18-cv-05945-VC (SK)
13             Plaintiff,

14        v.

15    Apple Inc.                                   PLAINTIFF’S RESPONSES AND
                                                   OBJECTIONS TO DEFENDANT’S FIRST
16
               Defendant.                          SET OF REQUESTS FOR PRODUCTION
17

18

19

20
     PROPOUNDING PARTY: Defendant Apple Inc.
21
     RESPONDING PARTY:           Plaintiff Social Technologies LLC
22
     SET NUMBER:                 One
23

24

25

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28

     PLAINTIFF’S OBJECTIONS AND RESPONSES TO DEFENDANT’S
 1   FIRST SET OF INTERROGATORIES
     CASE NO. :18-CV-05945-VC
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 1                        OBJECTIONS AND RESPONSES OF PLAINTIFF TO

 2                 DEFENDANT’S FIRST SET OF REQUESTS FOR PRODUCTION

 3
            Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff Social
 4
     Technologies LLC, by and through its undersigned attorneys, hereby responds and objects to
 5
     Defendant Apple Inc.’s First Set of Requests for Production. Plaintiff reserves the right to
 6

 7   supplement, revise, correct, add to, or modify the Responses and Objections set forth herein and

 8   the production made pursuant hereto at any time. If Plaintiff identifies responsive documents or

 9   information at a future date, it expressly reserves the right at that time to amend its Responses and
10   Objections, including, without limitation, to evaluate whether any privilege applies to such
11
     documents or information and to assert such privilege. Plaintiff also reserves the right to rely on,
12
     at any time, information omitted from these Responses and Objections as a result of mistake, error,
13
     oversight, or inadvertence. Plaintiff reserves the right to redact documents produced in response
14

15   to these requests.

16                                          GENERAL OBJECTIONS

17          The following General Objections are incorporated into each specific response below as
18
     if fully repeated in each response and are intended and shall be deemed to be in addition to any
19
     specific objection included therein. The production of any documents or information by Plaintiff
20
     pursuant to the Requests and these Responses and Objections shall be without prejudice to any
21
     objections Plaintiff may have to the competency, relevance, or admissibility of any document or
22

23   information at any hearing or trial in this action, and shall not be deemed a waiver of any such

24   objections.
25      1. Plaintiff objects to the Requests to the extent they call for the production of documents
26
            that are already in Defendant’s possession, custody, or control.
27                                    –2–
           PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
28
                         SET OF REQUESTS FOR PRODUCTION
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 1   2. Plaintiff objects to the Requests to the extent they call for the production of documents in

 2      the possession, custody, or control of persons other than Plaintiff.
 3
     3. Plaintiff objects to the Requests to the extent they call for the production of documents
 4
        that can be obtained by Defendant from public sources.
 5
     4. Plaintiff objects to the Requests to the extent they call for the production of documents
 6
        that can more readily, conveniently, and in a less burdensome fashion be obtained by
 7

 8      Defendant from others.

 9   5. Plaintiff objects to the Requests to the extent the “Definitions” and “Instructions”
10      incorporated therein attempt to impose obligations on Plaintiff beyond those imposed or
11
        authorized by the Federal Rules of Civil Procedure, the Local Rules of the United States
12
        District Court for the Northern District of California, the individual practices of the
13
        District Judge and Magistrate Judge assigned to this case, or any applicable order of this
14

15      Court.

16   6. Plaintiff objects to the Requests to the extent that they are vague, ambiguous, overbroad,

17      or unduly burdensome.
18   7. Plaintiff objects to the Requests to the extent they call for the production of documents
19
        that were prepared in anticipation of litigation, constitute or reflect attorney work
20
        product, contain privileged attorney-client communications, or are otherwise protected
21
        from disclosure under applicable privileges, laws, or rules.
22

23   8. Plaintiff objects to the Requests on the grounds that they seek documents that are

24      disproportionate to the needs of the case, considering the importance of the issues at stake

25      in the action, the amount in controversy, the parties’ relative access to relevant
26
        information, the parties’ resources, the importance of the discovery in resolving the
27                                –3–
       PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
28
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 1      issues, and whether the burden or expense of the proposed discovery outweighs its likely

 2      benefit.
 3
     9. Plaintiff objects to the Requests on the grounds that they seek documents that are not
 4
        relevant, material, or necessary to this action and which are not likely to lead to the
 5
        discovery of admissible evidence.
 6
     10. Any production of a privileged or confidential document by Plaintiff shall be construed
 7

 8      as inadvertent and shall not waive the privilege accorded or the confidential nature of any

 9      such document.
10   11. Plaintiff’s statement that he will produce any non-privileged responsive documents
11
        subject to the General Objections set forth herein and any Specific Objection does not
12
        constitute an acknowledgement that any such documents exist.
13
     12. Consistent with the Local Rules and Federal Rules, Plaintiff will meet and confer with
14

15      Defendant to determine the best and most efficient means of identifying documents or

16      information withheld on the basis of privilege.

17   13. Where Plaintiff agrees to produce any relevant, responsive, non-privileged documents
18      found after a reasonably diligent search subject to the General Objections set forth herein
19
        and any Specific Objection, such production is subject to the negotiation of approved
20
        custodians and search terms, where appropriate.
21
     14. These General Objections shall be deemed continuing as to each Request, incorporated in
22

23      response to each Request, whether or not specifically stated in response to each Request,

24      and are not waived or in any way limited by the following responses.

25   15. These responses are based on discovery available as of the date hereof. Further discovery,
26
        independent investigation, or other analysis may lead to the discovery of additional
27                                –4–
       PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
28
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 1          information or documents, which may lead to additions or changes to the responses set

 2          forth herein. These responses are given without prejudice to Plaintiff’s right to produce or
 3
            rely on subsequently discovered information or documents.
 4
        16. Social Tech objects to the term “Prior Owners” to the extent it purports to assert that
 5
            anyone other than Social Tech has ever owned any rights, at common law or otherwise,
 6
            in any mark consisting of or containing the word “memoji.”
 7

 8
                                         SPECIFIC OBJECTIONS
 9
     REQUEST NO. 1:
10

11          Documents sufficient to show each download of Social Tech’s App since its launch,

12   including the date (or, if the specific date is not available, then the year) and the location from

13   which each download occurred).
14
            OBJECTION AND RESPONSE TO REQUEST NO. 1:
15
            Subject to, and without waiving the General Objections, each of which are specifically
16
     incorporated herein, Plaintiff does not have any responsive materials in his possession, custody,
17
     or control. Plaintiff has reached out to Google for the information, but Google has not
18

19   responded.

20   REQUEST NO. 2:
21          Documents sufficient to show the date Social Tech’s App became available to the public.
22
            OBJECTION AND RESPONSE TO REQUEST NO. 2:
23
            Subject to, and without waiving the General Objections, each of which are specifically
24
     incorporated herein, Plaintiff will produce any relevant, responsive, non-privileged documents
25

26   found after a reasonably diligent search.

27                                    –5–
           PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
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 1   REQUEST NO. 20:

 2          All documents relating to or reflecting communications with Lucky Bunny concerning
 3
     the MEMOJI mark.
 4
            OBJECTION AND RESPONSE TO REQUEST NO. 20:
 5
            To date, Plaintiff has never “communicat[ed] with Lucky Bunny concerning the
 6

 7   MEMOJI mark.” Thus, Plaintiff does not have any responsive materials to produce.

 8

 9    Dated: March 13, 2019                                /s/ David L. Hecht
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17                                                         Attorneys for Plaintiff
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27                                    – 13 –
           PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
28
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 1                                CERTIFICATE OF SERVICE

 2         On March 13, 2019, I caused a copy of the foregoing PLAINTIFF’S OBJECTIONS
 3
     AND RESPONSES TO DEFENDANT’S FIRST SET OF REQUESTS FOR
 4
     PRODUCTION to be served via email to:
 5

 6
     COUNSEL FOR DEFENDANT:
 7

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21

22   Dated: March 13, 2019
23
                                             /s/ Melody McGowin
24                                           Melody McGowin
25

26

27                                   – 14 –
          PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
28
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